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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION

JOE REDNER,

          Plaintiff,

v.                                                     Case No. 8:05-cv-2061-T-30MAP

HILLSBOROUGH COUNTY, FLORIDA,

      Defendant.
_____________________________________/

                                           ORDER OF DISMISSAL

          Before the Court is the Joint Stipulation of Dismissal With Prejudice (Dkt. #50). In

accordance with same, it is ORDERED AND ADJUDGED as follows:

          1.        This cause is dismissed with prejudice, each party to bear their own attorneys’

                    fees and costs.

          2.        All pending motions are denied as moot.

          3.        The Clerk is directed to close this case.

          DONE and ORDERED in Tampa, Florida on January 30, 2007.




Copies furnished to:
Counsel/Parties of Record
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